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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                               TALLAHASSEE DIVISION

     IN RE:                                                              CASE NO.: 18-40390-KKS
                                                                                    CHAPTER 7
     Brian Walter Ranallo,
     Mary Cynthia Ranallo,

           Debtors.
     _________________________________/

OBJECTION TO CHATER 7 TRUSTEE’S MOTION TO (I) APPROVE A SHORT SALE
 OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES,
   AND INTERESTS PURSUANT TO 11 U.S.C §(b), (f) AND (m), (II) SURCHARGE
AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE, AND (III) OTHER
                              RELIEF

         NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER ("Secured Creditor”), by and

through undersigned counsel, hereby files its Objection to Chapter 7 Trustee’s Motion to (I)

Approve a Short Sale of Real Property Free and Clear of Liens, Claims, Encumbrances, and

Interests Pursuant to 11 U.S.C §(b), (f) and (m), (II) Surcharge Agreement Between Secured

Lender and the Estate, and (III) Other Relief (“Motion”) (Docket No. 38) and, in support thereof,

states as follows:

1.       Secured Creditor holds a first lien on the subject property located at 441 HIGH POINT LN,

         TALLAHASSEE, FL 32301 (the “Property”).

2.       On June 27, 2019, Mary W. Colón (the “Trustee”), Trustee filed Chapter 7 Trustee’s

         Motion to (I) Approve a Short Sale of Real Property Free and Clear of Liens, Claims,

         Encumbrances, and Interests Pursuant to 11 U.S.C §(b), (f) and (m), (II) Surcharge

         Agreement Between Secured Lender and the Estate, and (III) Other Relief requesting

         approval to sell the property for $101,000.00.




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3.     The estimated payoff of Secured Creditor’s lien is $96,050.50 as of August 1, 2019.

       Secured Creditor will provide an updated payoff at or near the scheduled closing of the

       sale.

4.     Secured Creditor does not object to the Trustee’s Motion to the extent that any sale is

       subject to Secured Creditor’s lien and that Secured Creditor’s lien will be paid according

       to written short sale approval or in full at the closing of said sale based upon an up to date

       payoff quote.

5.     Secured Creditor is filing its Response in an abundance of caution, as Secured Creditor

       wants it to be clear that it should not be compelled to participate in a sale of the property

       absent payment in full of Secured Creditor’s mortgage lien on the real property without

       being given the right to credit bid pursuant to 11 U.S.C. § 363(k).

6.     Furthermore, Secured Creditor requests that failure to complete any sale within 90-days of

       entry of this Order will result in any Order authorizing the sale to be deemed moot.

7.     Secured Creditor reserves the right to supplement this response at or prior to any hearing

       on this matter.

WHEREFORE, Secured Creditor respectfully requests entry of an order in compliance with the

above requests and for such other and further relief as the Court deems just and proper.

                                                   Robertson, Anschutz & Schneid, P.L.
                                                   Authorized Agent for Secured Creditor
                                                   6409 Congress Ave., Suite 100
                                                   Boca Raton, FL 33487
                                                   Telephone: 561-241-6901
                                                   Facsimile: 561-997-6909

                                                   By: /s/Keith Labell
                                                   Keith Labell, Esquire
                                                   Florida Bar No. 0109158
                                                   Email: klabell@rasflaw.com


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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on July 15, 2019, I caused to be electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has been
served via CM/ECF or United States Mail to the following parties:
ALLEN TURNAGE, P.A.
P.O. BOX 15219 2344 CENTERVILLE ROAD, SUITE 101
TALLAHASSEE, FL 32317

MARY W. COLON
P.O. BOX 14596
TALLAHASSEE, FL 32317

UNITED STATES TRUSTEE
U.S. TRUSTEE 110 E. PARK AVENUE, SUITE 128
TALLAHASSEE, FL 32301

BRIAN WALTER RANALLO
3513 KILKENNY DRIVE EAST
TALLAHASSEE, FL 32309

MARY CYNTHIA RANALLO
3513 KILKENNY DRIVE EAST
TALLAHASSEE, FL 32309

                                                                             By: /s/Keith Labell
                                                                           Keith Labell, Esquire
                                                                      Florida Bar No. 0109158
                                                                    Email: klabell@rasflaw.com




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